                                    UNITED STATES BANKRUPTCY COURT
                                          DISTRICT OF OREGON


 In re                                          )   Case No.    19-62049-tmr11
                                                )
  4 Him Food Group, LLC,                        )   Notice Re: Order
                                                )   Confirming Chapter 11
                                                )   Plan, Any Appropriate
 Debtor(s)                                      )   Injunction, and Discharge


 NOTICE IS SERVED by the undersigned (e.g., debtor’s attorney) debtor's attorney      , whose name
 and service address are Timothy Solomon, Leonard Law Group, 1 SW Columbia, Ste. 1010,
 Portland, OR 97204                                                              , of the following:

   A. This court entered an order on 07/07/2020 confirming the plan dated 05/20/2020 , docket
      # 140 , filed by (e.g., debtor) 4 Him Food Group, LLC                       , and, if filed by debtor,
      the debtor’s address and Taxpayer ID#(s) (last 4 digits) are: 395 East 1st Avenue, Junction City,
      OR 97448, xxxx4307                                                                                   .

   B. Except as otherwise provided in the plan or order confirming the plan:

         1. Unless a debtor is an individual who filed this case on or after 10/17/2005, then the debtor is
            discharged as follows:

             (a) The debtor is discharged from any debt that arose prior to the date of entry of the order
             confirming such plan and from any kind of debt specified in 11 U.S.C. §§ 502(g), (h) or (i),
             whether or not a proof of claim was filed or deemed filed, whether or not such claim was
             allowed, whether or not the holder of such claim accepted the plan and whether or not the
             right to payment was reduced to judgment, liquidated, unliquidated, fixed, contingent,
             matured, unmatured, disputed, undisputed, legal, secured or unsecured, except (i) for debts that
             are not discharged under 11 U.S.C. §§ 1141(d)(2) or § 1141(d)(6)(A) or (B), and (ii) if the plan
             liquidates substantially all estate property, the debtor does not engage in business after
             consummation, and a discharge would be denied under § 727(a) if the case were one under 11
             U.S.C. Chapter 7.

             (b) Any judgment is void to the extent it is a determination of the debtor's liability with
             respect to any discharged debt.

         2. If any debtor is an individual who filed this case on or after 10/17/2005, then the debtor shall
            not be discharged from any debt provided for in the plan until debtor completes all payments
            under the plan, unless the court orders otherwise for cause under 11 U.S.C. § 1141(d)(5)(A). The
            court may additionally grant a discharge to a debtor who has not completed plan payments if
            the court finds the debtor meets the criteria of 11 U.S.C. §§ 1141(d)(5)(B) or (C).
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        3. The property revested in the debtor under the plan is free and clear of all claims and interest
           of creditors and equity security holders.

        4. Commencement or continuation of any action, or of employment of process or any act to
           collect, recover or offset any such debt as the debtor's personal liability, or from the debtor's
           property, is enjoined.

    C. If applicable, the Order of Confirmation, in accordance with Federal Rule of Bankruptcy Procedure
       (FRBP) 3020, describes all acts enjoined by the plan that are not otherwise enjoined under the
       Bankruptcy Code.

    D. Unless a written request for a hearing, setting forth specific objections, is filed with the clerk at 1050
       SW 6th Ave. #700, Portland, OR 97204 or 405 E 8th Ave. #2600, Eugene OR 97401, within 21 days
       of this notice's service date in paragraph E, the court will consider the following applications for
       compensation or administrative expenses, if any, without further notice:


                                                           Total                      Estimate of Case Related
                                            Total         Amount          Balance        Post-Confirmation
                                           Amount       Paid to Date                       Compensation
               Applicant                   of Final      Including         Due         (Indicate If Included in
                                           Request       Retainers                     Total Amount of Final
                                                                                              Request)
Leonard Law Group, LLC                    143,051.48        20,118.28    122,933.20   10,000 (est., not included)
Gaydos, Churnside & Balthrop, PC          13,201.20            0         13,201.20




    E. On       08/27/2020        this notice was served on the debtor(s), any trustee, the U.S. Trustee, and
       their respective attorneys; all interested parties; and any identified entity subject to an injunction
       provided for in the plan against conduct not otherwise enjoined under the Bankruptcy Code.



                                /s/ Timothy A. Solomon, Counsel to Debtor
                               Signature & Relation to Case




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